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                                        United States District Court
                                       Western District of Washington




In Re: Valve Antitrust Litigation                                               2:21-cv-00563-JCC
                                                              Case Number:

 Plaintiff(s)                                                 APPLICATION FOR LEAVE TO APPEAR
                                                              PRO HAC VICE
 V.




 Defendant(s)

Pursuant to LCR 83.1(d) of the United States District Court for the Western District of Washington,
Kyle J. Pozan                                       hereby applies for permission to appear and participate as
counsel in the above entitled action on behalf of the following party or parties:
 Plaintiffs Dark Catt Studios Holdings, Inc. and Dark Catt Studios Interactive LLC ("Dark Catt
 Plaintiffs"), individually and on behalf of all others similarly situated.


The particular need for my appearance and participation is:
Counsel for the Dark Catt Plaintiffs and the putative class.




I, Kyle J. Pozan                                   understand that I am charged with knowing and complying with
all applicable local rules;

I have not been disbarred or formally censured by a court of record or by a state bar association; and there are
not disciplinary proceedings against me.

I declare under penalty of perjury that the foregoing is true and correct.



Date:   09/28/2022                                 Signature of Applicant: s/   Kyle J. Pozan

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Pro Hac Vice Attorney

Applicant's Name:                  Kyle J. Pozan
                                  Lockridge Grindal Nauen P.L.L.P.
Law Firm Name:
                                  100 Washington Avenue S.
Street Address 1:
                                  Suite 2200
Address Line 2:

City: Minneapolis                                     State: MN             Zip:   55401
Phone Number w/ Area Code   612-339-6900    Bar # 6306761                                    State   IL
Primary E-mail Address: kjpozan@locklaw.com
(Primary E-Mail address must be for the Pro Hac attorney and not any subordinate or staff member)

Secondary E-mail Address:       lgn-kjpozan@ecf.courtdrive.com

                                       STATEMENT OF LOCAL COUNSEL

I am authorized and will be prepared to handle this matter, including trial, in the event the
applicant Kyle J. Pozan                                                     is unable to be present upon any date
assigned by the court.

Date: 09/28/2022
                                                                     Stephanie L. Jensen
                                  Signature of Local Counsel: s/

Local Counsel's Name:             Stephanie L. Jensen
                                  Wilson Sonsini Goodrich & Rosati, P.C.
Law Firm Name:
                                  701 Fifth Avenue
Street Address 1:
                                  Suite 5100
Address Line 2:

City:Seattle                                          State:WA              Zip:   98104
Phone Number w/ Area Code 206-883-2500                            Bar #   42042




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                               Electronic Case Filing Agreement




 By submitting this form, the undersigned understands and agrees to the following:

1. The CM/ECF system is to be used for filing and reviewing electronic documents, docket sheets, and
   notices.

2. The PACER password combined with your login, serves as your signature under Federal Rule of Civil
   Procedure 11 and 5(d)(3)(C). Therefore, you are responsible for protecting and securing this password
   against unauthorized use.

3. If you have any reason to suspect that your password has been compromised in any way, you are
   responsible for immediately notifying the court. Court staff will assess the risk and advise accordingly.

4. By signing this Registration Form, you consent to receive notice electronically and waive your right to
   receive notice by personal service or first-class mail pursuant to Federal Rule of Civil Procedure
   5(b)(2)(C), except with regard to service of a complaint and summons. This provision does include
   electronic notice of the entry of an order or judgment.

5. You will continue to access court information via the Western District of Washington's internet site or
   through the Public Access to Court Electronic Records (PACER) system. After January 27,2020, a PACER
   login and password, will be required to electronically file. You can register for PACER access at their web
   site: www.pacer.gov.

6. By completion of this registration, the undersigned agrees to abide by the rules and regulations in the
   most recent General Order, the Electronic Filing Procedures developed by the Clerk's Office, and any
   changes or additions that may be made to such administrative procedures in the future.


 Date Signed 09/28/2022 Signature s/
                                                      Kyle J. Pozan
                                                      (Pro Hac Vice applicant name)




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